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 4    Dallas, Texas 75251
      Telephone: (972) 628-3600
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 8                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA
 9                                            SAN DIEGO DIVISION
10
      GABRIEL TECHNOLOGIES                                           CIVIL ACTION NO. 3:08-cv-01992-MMA-POR
11    CORPORATION and TRACE
      TECHNOLOGIES, LLC,
12                       Plaintiffs,                                 DECLARATION OF JAMIL N. ALIBHAI
                                                                     IN SUPPORT OF MOTION TO WITHDRAW
13
               vs.                                                   AS ATTORNEYS OF RECORD FOR
14                                                                   PLAINTIFFS GABRIEL TECHNOLOGIES
      QUALCOMM INCORPORATED,                                         CORPORATION AND TRACE
15    SNAPTRACK, INC., and NORMAN                                    TECHNOLOGIES, LLC
      KRASNER,
16
                            Defendants.                              DATE: January 25, 2010
17                                                                   TIME: 2:30 p.m.
                                                                     COURTROOM: 5
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                                                                     DEMAND FOR JURY TRIAL
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      Declaration of Jamil N. Alibhai in Support of Motion to Withdraw as Attorneys of Record                            Page 1
      For Plaintiffs Gabriel Technologies Corporation and Trace Technologies, LLC               Case No. 3:08-cv-01992-MMA-POR
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 1    I, Jamil N. Alibhai, declare:
 2              1.        I am a partner at Munck Carter, LLP (“Munck Carter”), counsel of record for
 3    Plaintiffs Gabriel Technologies Corporation (“Gabriel”) and Trace Technologies, LLC

 4    (collectively, Plaintiffs). I have personal knowledge of the following and if called upon I could

 5    and would competently testify thereto.

 6              2.        A copy of Munck Carter’s motion to withdraw has been served on counsel for

 7    defendants and on the CEO and General Counsel of Gabriel, George Tingo (by electronic and

 8    U.S. mail).

 9              3.        Counsel for defendants, Jeffrey Karr, has indicated that defendants do not oppose

10    this motion.

11              I declare under the penalty of perjury that the foregoing is true and correct.

12              Signed December 22, 2009, in Dallas, Texas.

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                                                                             /s/ Jamil N. Alibhai
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                                                                             Jamil N. Alibhai
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      Declaration of Jamil N. Alibhai in Support of Motion to Withdraw as Attorneys of Record                            Page 2
      For Plaintiffs Gabriel Technologies Corporation and Trace Technologies, LLC               Case No. 3:08-cv-01992-MMA-POR
